       Case 2:16-cv-01326-AKK-JHE Document 25 Filed 11/07/17 Page 1 of 1                                FILED
                                                                                               2017 Nov-07 AM 09:21
                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA
                           UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

 QUENTIN TRUSS,                                   )
 AIS # 181630                                     )
                                                  )
         Plaintiff,                               )
                                                  )    Case No.: 2:16-cv-01326-AKK-JHE
 v.                                               )
                                                  )
 LATASHA TERRELL, et al.,                         )
                                                  )
         Defendants.                              )

                                             ORDER

       The plaintiff has filed a notice informing the court and the defendants that he accepts the

defendants’ settlement offer, but seeks payment of court costs and filing fees as a condition of

settlement. (Doc. 23). The defendants have filed a notice stating this case was settled on Friday,

November 3, 2017, by execution of a settlement agreement. (Doc. 24).

       Therefore, the parties having informed the court that this case has been amicably resolved,

the parties are ORDERED to file a joint stipulation of dismissal within thirty (30) days of the date

of this Order.

       DONE this 7th day of November, 2017.




                                              _______________________________
                                              JOHN H. ENGLAND, III
                                              UNITED STATES MAGISTRATE JUDGE
